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customers can buy one currency and simultaneously sell another. Both Niv and
Ahdout were CFTC registrants during the relevant period.

FXCM, under Niv’s and Ahdout’s direction and control, misrepresented to its retail
forex customers that when they traded forex on FXCM’s No Dealing Desk
platform, FXCM would have no conflict of interest, the Order finds. In addition,
according to FXCM’s marketing campaign, retail customers’ profits or losses
would have no impact on FXCM’s bottom line, because FXCM’s role in the
customers’ trades was merely that of a credit intermediary, the Order finds. FXCM
further represented that the risk would be borne by banks and other independent
“market makers” that provided liquidity to the platform, according to the Order.

FXCM’s Undisclosed Interest

Contrary to these representations, the Order finds, FXCM had an undisclosed
interest in the market maker that consistently “won” the largest share of FXCM’s
trading volume — and thus was taking positions opposite FXCM’s retail customers.
FXCM, the Order finds, formulated a plan in 2009 to create an algorithmic trading
system, using an FXCM computer program that could make markets to FXCM’s
customers, and thereby either replace or compete with the independent market
makers on FXCM’s “No Dealing Desk” platform. Although FXCM eventually
spun off the algorithmic trading system as a new company, in actuality the company
remained closely aligned with FXCM, according to the Order. This market maker
received special trading privileges, benefitted from a nointerest loan provided by
FXCM, worked out of FXCM’s offices, and used FKCM employees to conduct its
business, the Order further finds.

The Order finds that FXCM and the market maker agreed that the market maker
would rebate to FXCM approximately 70 percent of its revenue from trading on
FXCM’s retail forex platform. In total, through monthly payments from 2010
through 2014, the company rebated to FXCM approximately $77 million of the
revenue it achieved. However, FXCM did not disclose to customers, among other
things, that this company — FXCM’s principal market maker — was a startup firm
spun off from FXCM, the Order further finds.

False Statements to the NFA

The Order also finds that FXCM willfully made false statements to NFA in order
to conceal FXCM’s role in the creation of its principal market maker as well as
the fact that the market maker’s owner had been an FXCM employee and
managing director. The Order finds that during a meeting between NFA
compliance staff and FXCM executives, Niv omitted to mention to NFA the
details of FXCM’s relationship with the market maker.

The Order holds Niv and Ahdout liable for FXCM’s fraud violations as “controlling
persons” who were responsible, directly or indirectly, for FXCM’s violations. Niv
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is also held liable for FXCM’s false statements to NFA as a controlling person who

was responsible directly or indirectly for those violations. FXCM Holdings is held

liable for FXCM’s fraud and false statement violations as principal of FXCM, the

Order also finds.’

9. On February 6, 2017, the Company issued a press release announcing that the
Company had reached a settlement with the NFA and CFTC, pursuant to which the Company was
fined $7 million and agreed to withdraw from business in the United States. In connection with
the Company withdrawing from business in the United States, the Company signed a non-binding
letter of intent with GAIN Capital Holdings, Inc. (“GAIN”) under which GAIN would purchase
the Company’s U.S. customer accounts.

10. | On this news, Global Brokerage’s stock price fell $3.40 per share, from a close of
$6.85 on February 6, 2017 to close at $3.45 on February 7, 2017, a loss of approximately 50%, on
extremely heavy volume of 1,980,000 shares.

JURISDICTION AND VENUE

11. This Court has jurisdiction over the claims asserted herein under 28 U.S.C. §1331
because the claims arise under and pursuant to §14(a) of the Exchange Act (15 U.S.C. §78n(a))
and Rule 14a-9 promulgated there under (17 C.F.R. §240.14a-9).

12. Venue is proper in this Court because a substantial portion of the transactions and
wrongs complained of herein occurred in this District, and defendants have received substantial
compensation within this District by doing business here and engaging in numerous activities that
had an effect in this jurisdiction. Also, the Company’s principal executive offices are located in

this District.

THE PARTIES

 

7 All emphasis added unless otherwise noted.
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13. Plaintiff is, and was, a shareholder of the Company during the time defendants were
violating the federal securities laws. Plaintiff will fairly and adequately represent the interests of
the shareholders in enforcing the rights of the Company.

14. Nominal Defendant Global Brokerage is a Delaware corporation with its principal
executive offices located at 55 Water Street, Floor 50, New York, NY 10041.

15. Defendant David Sakhai (“Sakhai”) co-founded FXCM, the predecessor to Global
Brokerage, has been a director of the Company since 2010 and has been the Chief Operating
Officer (“COO”) of the Company since 1999. Defendants Sakhai and Ahdout are cousins. As
COO of the Company for the fiscal years ended December 31, 2015, 2014 and 2013, defendant
Sakhai received $2,102,548, $821,323 and $1,481,556 in total compensation, respectively.
Defendant Sakhai oversaw and signed or authorized the signing of the materially misleading
financial statements described herein and referenced in the 2012-2016 Proxy Statements.

16. Defendant James G. Brown (“Brown”) has been a director of the Company since
2010 and is a member of the Audit, Compensation and Corporate Governance and Nominating
Committees. Defendant Brown oversaw and signed or authorized the signing of the materially
misleading financial statements described herein and referenced in the 2012-2016 Proxy
Statements.

LT: Defendant Robin Davis (“Davis”) has been a director of the Company since 2010
and is a member of the Audit Committee. Defendant Davis oversaw and signed or authorized the
signing of the materially misleading financial statements described herein and referenced in the
2012-2016 Proxy Statements.

18. Defendant Kenneth Grossman (“Grossman”) co-founded FXCM, the predecessor

to Global Brokerage, and has been a director of the Company since 2010. Defendant Grossman
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oversaw and signed or authorized the signing of the materially misleading financial statements
described herein and referenced in the 2012-2016 Proxy Statements.

19. Defendant Arthur Gruen (“Gruen”) has been a director of the Company since 2010
and is the Chair of the Audit Committee and a member of the Compensation Committee.
Defendant Gruen oversaw and signed or authorized the signing of the materially misleading
financial statements described herein and referenced in the 2012-2016 Proxy Statements.

20. Defendant Eric LeGoff (“LeGoff”) has been a director of the Company since 2010.
Defendant LeGoff oversaw and signed or authorized the signing of the materially misleading
financial statements described herein and referenced in the 2012-2016 Proxy Statements.

21. Defendant Bryan I. Reyhani (“Reyhani”) has been a director of the Company since
February 2016 and is a member of the Corporate Governance and Nominating Committee.
Defendant Reyhani oversaw and signed or authorized the signing of the materially misleading
financial statements described herein and referenced in the 2012-2016 Proxy Statements.

22. Defendant Ryan Silverman (“Silverman”) has been a director of the Company since
2010 and is the Chair of the Corporate Governance and Nominating Committee and the Chair of
the Compensation Committee. Defendant Silverman oversaw and signed or authorized the signing
of the materially misleading financial statements described herein and referenced in the 2012-2016
Proxy Statements.

23. Defendant Eduard Yusupov (“Yusupov”) co-founded FXCM, the predecessor to
Global Brokerage, and has been a director of the Company since 2010. Defendant Yusupov
oversaw and signed or authorized the signing of the materially misleading financial statements
described herein and referenced in the 2012-2016 Proxy Statements.

24. Defendants Sakhai, Brown, Davis, Grossman, Gruen, LeGoff, Reyhani, Silverman

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and Yusupov are collectively referred to herein as the “Director Defendants.”

25. Defendant William Ahdout (“Ahdout”) co-founded FXCM, the predecessor to
Global Brokerage, and was a director of the Company from 2010 until his resignation on February
21, 2017. Defendants Sakhai and Ahdout are cousins. Defendant Ahdout oversaw and signed or
authorized the signing of the materially misleading financial statements described herein and
referenced in the 2012-2016 Proxy Statements.

26. Defendant Dror Niv (“Niv”’) co-founded FXCM, the predecessor to Global
Brokerage, was a member and Chairman of the Board from 2010 until his resignation on February
21, 2017. Defendant Niv has also been the Chief Executive Officer (“CEO”) of the Company
since 1999 until his announced resignation on February 21, 2017, which will become effective
upon the appointment of his successor. Defendant Niv is the sibling of Ornit Niv, the CEO of
Forex Capital Markets LLC. As CEO of the Company for the fiscal years ended December 31,
2015. 2014 and 2013, defendant Niv received $2,102,548, $821,276 and $1,481,593 in total
compensation,® respectively. Defendant Niv oversaw and signed or authorized the signing of the
materially misleading financial statements described herein and referenced in the 2012-2016 Proxy
Statements.

27. Defendant Robert Lande (“Lande’’) joined the Company in January 2010 and was
the Chief Financial Officer (“CFO”) of the Company throughout the Relevant Period. Defendant
Lande oversaw and signed or authorized the signing of the materially misleading financial
statements described herein and referenced in the 2012-2016 Proxy Statements.

28. The Director Defendants and defendants Ahdout, Niv and Lande are collectively

 

§ “Total compensation” includes salary, bonus, stock and option awards, non-equity incentive plan
compensation and all other compensation.

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referred to herein as the “defendants.”
SUBSTANTIVE ALLEGATIONS
Background of the Company

29. | The Company was formerly known as FXCM Ince. (“FXCM”) and was founded in
1999. Until approximately 2007, FXCM provided liquidity to its retail forex customers primarily
through an internal dealing desk — a division of the Company that determined the prices offered to
customers and held positions opposite customers.

30. In or around 2007, the Company transitioned from utilizing a dealing desk to
transact with customers to using an “agency” model, or “no dealing desk,” for its retail forex
customers. As such, the Company claimed that it was no longer acting as a market maker and that
the agency model eliminated the major conflict of interest between broker and retail customers.’

31. In the Company’s agency model, price quotations were provided not by the
Company’s internal dealing desk, but by banks and other third-party market makers (also known
as “liquidity providers.”

32. In the Company’s registration statement and prospectus for its initial public offering
on December 1, 2010, the Company explained its agency model to its customers and potential
investors as follows: “When our customer executes a trade on the best price quotation offered by
our FX market makers, we act as a credit intermediary, or riskless principal, simultaneously
entering into offsetting trades with both the customer and the FX market maker.”

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33. The Company claimed that trading on its agency model was different from a dealing

 

° Andrew Saks-McLeod, FYCM and CEO Drew Niv banned from US: Full details of FXCM’s
several years of trading against customers, FinanceFeeds (Feb. 7, 2017), available at
http://financefeeds.com/fxcm-and-ceo-drew-niv-banned-from-us-full-details-of-fxcms-several-
years-of-trading-against-customers/.

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